
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-04-078-CR



LONNY B. HAWKINS &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;					APPELLANT



V.

THE STATE OF TEXAS	STATE

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FROM THE 90
TH
 
DISTRICT COURT OF YOUNG COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered appellant’s withdrawal motion for voluntary dismissal of appeal. &nbsp;The motion complies with rule 42.2(a) of the rules of appellate procedure. 
Tex. R.
 
App
. P. 42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. 
See id.;
 
Tex. R. App. P.
 43.2(f). 																	

PER CURIAM



PANEL D:	
LIVINGSTON, DAUPHINOT, and HOLMAN,
 JJ.



DO NOT PUBLISH

Tex. R. App. P. 
47.2(b)



DELIVERED: October 14, 2004							

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




